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5    Attorney for Defendant
     EILEEN KNIGHT
6
                         IN THE UNITED STATES DISTRICT COURT
7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,           )   NO. 2:12-CR-00169 MCE
                                         )
10                    Plaintiff,         )   ORDER AND STIPULATION BY THE
                                         )   PARTIES THAT PROBATION
11         v.                            )   INVESTIGATE DEFENDANT EILEEN
                                         )   KNIGHT’S CRIMINAL HISTORY TO
12   EILEEN KNIGHT,                      )   DETERMINE IF SHE IS CLASSIFIED AS
                                         )   A CAREER OFFENDER
13                                       )
                      Defendant.         )
14                                       )
     _______________________________
15
16         Plaintiff, the United States of America, by its counsel, Assistant
17   United States Attorney Jason Hitt, and defendant Eileen Knight, by her
18   attorney Christopher Haydn-Myer, hereby jointly request and stipulate
19   that this Court may sign the Proposed Order, Ordering Probation to
20   investigate Ms. KNIGHT’s criminal history to determine if she is
21   classified as a Career Offender.
22                                                 BENJAMIN B. WAGNER
                                                   UNITED STATES ATTORNEY
23   Dated: November 27, 2012                      Respectfully submitted,
24                                                 /s/ Jason Hitt
                                                   CHRISTOPHER HAYDN-MYER for
25                                                 Assistant United States
                                                   Attorney Jason Hitt
26
     ///
27   ///
     ///
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             Case 2:12-cr-00169-TLN Document 125 Filed 12/06/12 Page 2 of 2


1    Dated: November 27, 2012                       Respectfully submitted,
                                                    /s/ Christopher Haydn-Myer
2                                                   CHRISTOPHER HAYDN-MYER
                                                    Attorney for Eileen Knight
3
                                            ORDER
4
          Based upon the agreements and stipulations between counsel in this
5
     case:
6
          It is hereby ordered that the Probation Department investigate Ms.
7
     KNIGHT’s criminal history to determine if she is classified as a Career
8
     Offender.
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          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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11
12   Dated: December 6, 2012

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                                            _____________________________
14                                          MORRISON C. ENGLAND, JR.
15                                          UNITED STATES DISTRICT JUDGE

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